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 Information to identify the case:
 Debtor
                Yield10 Bioscience, Inc.                                                    EIN:   04−3158289
                Name

 United States Bankruptcy Court     District of Delaware                                    Date case filed for chapter:       11      12/6/24

            24−12752−MFW
 Case number:

Official Form 309F1 (For Corporations or Partnerships)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   10/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).
The staff of the bankruptcy clerk's office cannot give legal advice.
Do not file this notice with any proof of claim or other filing in the case.
Valid Picture ID is required for access to the J. Caleb Boggs Federal Building.

  1. Debtor's full name                       Yield10 Bioscience, Inc.


  2. All other names used in the fdba Metabolix Bioscience, Inc.
     last 8 years

  Jointly Administered Cases                                                                                 Case No.               Tax ID.


  3. Address                                  19 Presidential Way, Suite 201
                                              Woburn, MA 01801

                                              Frederick Brian Rosner                                     Contact phone 302−777−1111
  4. Debtor's attorney                        The Rosner Law Group LLC
      Name and address                        824 Market Street, Suite 810                               Email: rosner@teamrosner.com
                                              Wilmington, DE 19801

  5. Bankruptcy clerk's office                                                                            Hours open: Monday − Friday 8:00 AM
      Documents in this case may be filed                                                                 − 4:00 PM
      at this address.                        824 Market Street, 3rd Floor
      You may inspect all records filed in
      this case at this office or online at   Wilmington, DE 19801                                        Contact phone 302−252−2900
      https://pacer.uscourts.gov.
                                                                                                          Date: 12/12/24

  6. Meeting of creditors                     January 13, 2025 at 11:30 AM                               Location:
      The debtor's representative must
      attend the meeting to be questioned
      under oath.                         The meeting may be continued or adjourned to a later           844 King Street, Room 6118,
      Creditors may attend, but are not   date. If so, the date will be on the court docket. All times
                                          listed are in EST.                                             Wilmington, DE 19801
      required to do so.

                                                                                                           For more information, see page 2 >




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Debtor Yield10 Bioscience, Inc. and Yield10 Bioscience, Inc.                                                           Case number 24−12752−MFW

  7. Proof of claim deadline               Deadline for filing proof of claim: Not yet set. If a deadline is set, the court will send you
                                           another notice.

                                           A proof of claim is a signed statement describing a creditor's claim. A proof of claim form, Official Form
                                           B410, may be filed either electronically or as a paper document. For more information on how to file a Proof
                                           of Claim, visit the Delaware Bankruptcy Court's website at http://www.deb.uscourts.gov/claims−information.

                                           Your claim will be allowed in the amount scheduled unless:

                                                    • your claim is designated as disputed, contingent, or unliquidated;
                                                    • you file a proof of claim in a different amount; or
                                                    • you receive another notice.
                                           If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                           must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                           You may file a proof of claim even if your claim is scheduled.

                                           You may review the schedules at the bankruptcy clerk's office or online at https://pacer.uscourts.gov.

                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                           proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                           explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                           rights, including the right to a jury trial.


  8. Exception to discharge                 If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
     deadline                               proceeding by filing a complaint by the deadline stated below).
      The bankruptcy clerk's office must
      receive a complaint and any required
      filing fee by the following deadline. Deadline for filing the complaint:            3/14/25


                                            If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  9. Creditors
     address
               with a foreign               extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                            have any questions about your rights in this case.


                                           Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                           court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  10. Filing a Chapter 11
      bankruptcy case
                                           and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                           hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                           trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                           business.


                                           Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                           debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  11. Discharge of debts                   debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                           discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                           paying the filing fee in the bankruptcy clerk's office by the deadline.




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